              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT



                        WILLIAM KENNETH MANN,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2023-1259


                              August 23, 2024

Appeal from the Circuit Court for Pinellas County; Michael F. Andrews,
Judge.

Howard L. Dimmig, II, Public Defender, and Kimberly Nolen Hopkins,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and J. Wade Stidham,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.



NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.



Opinion subject to revision prior to official publication.
